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                                                 21 MAG 6187
Approved: _______________________________
          CAMILLE L. FLETCHER
          Assistant United States Attorneys

Before:      THE HONORABLE ONA T. WANG
             United States Magistrate Judge
             Southern District of New York

- - - - - - - - - - - - - - - - -         X
                                          :     SEALED COMPLAINT
UNITED STATES OF AMERICA
                                          :      Violations of 18 U.S.C.
                  - v. –                         §§ 875(c), 2261A(2)(A),
                                          :     2261A(2)(B) and 2.
ADAM JUSTIN BANFILL,
                                          :     COUNTY OF OFFENSE:
                                                NEW YORK
                    Defendant.            :
- - - - - - - - - - - - - - - - -         X


SOUTHERN DISTRICT OF NEW YORK, ss.:

          JAMES WALSH, being duly sworn, deposes and says that he
is a Detective with the New York City Police Department (“NYPD”),
and charges as follows:

                                  COUNT ONE

                 (Threatening Interstate Communications)

           1.    From at least on or about June 8, 2020, through in
or about the present, in the Southern District of New York and
elsewhere,    ADAM   JUSTIN  BANFILL,   the  defendant,   knowingly
transmitted in interstate and foreign commerce communications
containing threats to injure the person of another, to wit, BANFILL
sent to a cable news contributor (the “Broadcaster”) a series of
violent, threatening, harassing, and intimidating messages—
including messages in which BANFILL threatened to kill the
Broadcaster and the Broadcaster’s relative—via the “Contact” form
portal on the Broadcaster’s website.

     (Title 18, United States Code, Sections 875(c) and 2.)
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                               COUNT TWO

                               (Stalking)

          2.   From at least in or about June 8, 2020 through in
or about the present, in the Southern District of New York and
elsewhere, ADAM JUSTIN BANFILL, the defendant, knowingly and with
the intent to kill, injure, harass, intimidate, and place under
surveillance with intent to kill, injure, harass, and intimidate
another person, used the mail, interactive computer services and
electronic communication services and electronic communication
systems of interstate commerce, and other facilities of interstate
and foreign commerce to engage in a course of conduct that (a)
placed that person in reasonable fear of the death of and serious
bodily injury to that person, and (b) caused, attempted to cause,
and would be reasonably expected to cause substantial emotional
distress to that person, to wit, BANFILL sent to the Broadcaster
a series of violent, threatening, harassing, and intimidating
messages—including messages in which BANFILL threatened to kill
the Broadcaster and the Broadcaster’s relative—via the “Contact”
form portal on the Broadcaster’s website.

      (Title 18, United States Code, Sections 2261A(2)(A),
                      2261A(2)(B), and 2.)

          The bases for my knowledge and the foregoing charges
are, in part, as follows:

          3.   I am a Detective with the NYPD’s Intelligence
Bureau, Leads Investigation Unit, and I have been personally
involved in the investigation of this matter. This affidavit is
based in part upon my conversations with law enforcement agents
and other people, and my examination of reports and records.
Because this affidavit is being submitted for the limited purpose
of establishing probable cause, it does not include all of the
facts that I have learned during the course of my investigation.
Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in
substance and in part, except where otherwise indicated.

          4.   Based on conversations with the Broadcaster I know
that the Broadcaster is an on-air television personality who works
for a cable news network located in New York, New York.

          5.   Based on my participation in this investigation,
including my review of documents from internet providers,
conversations with the Broadcaster, as well as my training and
experience, I have learned the following, in substance and in part,

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that a person who, as described further below, I have identified
as ADAM JUSTIN BANFILL, the defendant, sent more than 1,100
violent, threatening, harassing, and intimidating messages to the
Broadcaster via the “Contact” form portal on the Broadcaster’s
website. Along with the text of each message, BANFILL filled in a
field on the “Contact” form portal asking for a contact email
address in which he listed a certain Gmail address (the “BANFILL
Email Account”). He also filled in a field on the “Contact” form
portal asking for a name in which he listed “Adam Justin Banfill.”
Each message sent by BANFILL via the “Contact” form portal on the
Broadcaster’s   website   was    automatically   routed   to   the
Broadcaster’s personal email account. Those messages included, but
were not limited to, the following messages:

               a.   On or about June 8, 2020, BANFILL wrote to the
Broadcaster, in substance and in part:

                Subject: Q n A
                Message: Question to me (circa 2012), " If you could
                tell your future wife something in a message, what
                would it be"? Answer from me, " I love you. I love
                you. I love you. I love you. I love you. I love
                you..."

               b.   On or about June 26, 2020, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: I will
                Message: I'll go to New York. Not sure about the
                details, but I will.

               c.   On or about July 5, 2020, BANFILL wrote to the
Broadcaster, in substance and in part:

                Subject: Driving
                Message: Wew! Theres nothing like driving for a
                cumulative 10 hours when on vacation to help one
                relax.

                d.   As described in further detail below, I have
learned that BANFILL lives in Grand Rapids, Michigan, which based
on maps, is an approximately 10-hour drive from New York, New York.

               e.   On or about July 31, 2020, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: Good news!


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                Message: I'll see you in August. Bad news- You must
                put something where it doesnt belong again.

               f.   On or about December 19, 2020, BANFILL wrote
to the Broadcaster, in substance and in part:

                Subject: I dont fuck w bums
                Message: Why would I do anything with a woman who
                is average or below-average? I could do anything
                with basically any woman I wanted to. I don't fuk
                with bums.

               g.   On or about January 4, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: Sis
                Message:   Is   [Broadcaster’s   Relative]   seeing
                anyone???!!!!!! Hmmmmmmm. Pretty pretty face.
                Nevermind. It doesn't matter. I'm going to smash it
                anyway... We've been chatting. She's very nice.

               h.   On or about January 7, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: The enemy of the people of the United
                States of America-
                Message: And I have given everything I have and
                everything I could have over and over again for
                this country, it's people. For her citizens. While
                you have taken from me over and over and over. I
                can say whatever the fuck I want to. I don't fucking
                care about what you think. You don't scare me, you
                fucking bitches. I cannot fix what you have done.
                I cannot fix it, I begged you not to do this. I
                begged you. Prepare yourself as an adult. The Lord
                has come to inquire.

               i.   On or about January 11, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: I saw the sign, Ace
                Message: In a way, you have stolen from me for a
                long time- your rhythm and pulse will belong to me,
                but maybe briefly. I would say 'haha' like a smug
                brother. I am saying that, 'haha [Broadcaster]'.
                You can't joke or weasel your way out of this one.
                You are mine. This one is not a mind trick, I
                promise you! Luv ya sis, (Mom raised you better

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                [Broadcaster], all joking aside. You know what I
                mean- I don't have to enumerate it). - your brother,
                sometimes very agitated, Adam

               j.   On or about January 21, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: Prepping
                Message: [Broadcaster], Prepare yourself for the
                worst. It's time. I don't know how to tell you.
                What did I tell you so many times? Focus on Jesus.
                I'm sorry [Broadcaster]. It's not my fault. I'm
                sorry.

               k.   On or about February 7, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

                Subject: Ayyyyyyyyyyyyyyyyyyy!
                Message: You are one of the most disgusting fucking
                people I've ever encountered in my life. Which is
                why I was forced to interact with you. You and the
                people interactive in your culture are deeply
                repugnant to my innermost values. you cannot love
                something that you cannot define but since you're
                a fucking retard you are well accepted in your
                culture and by the stupid fucking media trash that
                treat you so well. I'd give you a heads up, but
                since I already have over and over again I'll only
                say, the Bell, it tolls for thee. - "what is
                Truth?"...

               l.   On or about February 21, 2021, BANFILL wrote
to the Broadcaster, in substance and in part:

                Subject: Hello-llo-llo-llo-llo-llo-llo-llo..
                Message:   Ram   your    cock   down   my    throat
                [Broadcaster]!!!!! Don't get scared now!!!!!!!

               m.   On or about February 27, 2021, BANFILL wrote
to the Broadcaster, in substance and in part:

                Subject: You
                Message: I could have had the meat peeled from your
                fucking Bones by now. Relax. Or not.now you have
                two unbelievable men to deal with instead of one.
                How funny is that? -Adam



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               n.   On or about March 2, 2021, BANFILL’ wrote to
the Broadcaster, in substance and in part:

               Subject: If I wanted
               Message: I would blow through you like you're a
               fucking rag doll. I'm going to keep playing your
               game for now. I could turn the fucking planet upside
               down [Broadcaster]. For now I'm going to keep
               playing your game. I've shown you what horrendous
               fucking fire looks like. Keep laughing lady if you
               want to. Adam Goodnight, -Adam

               o.   On or about March 26, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

               Subject: Abort mission
               Message: We're taking you out [Broadcaster]. There
               has been too much loss of life and chaos. Take it
               easy and slow. We care for you and will fix this.
               Let us help you. It's over baby. T.t.y soon Love,
               -Adam

               p.   On or about April 1, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

               Subject: Come clean
               Message: When you are not being true to your own
               heart, and you are trying to live a functional life,
               but things will not work out. I understand your
               conflict of interest [Broadcaster]. But you are
               stealing from me. I can't go on the rest of my life
               being partially strangled by you. Let it go. Clear
               your conscience. Mr. Trump bugs me about you every
               day! It hurts because I care about you. Fight it as
               hard as I can. I can’t do it anymore. You don't get
               to choose who your heart belongs to. Ok. Life isn't
               fair. I do love you. Now I'm free. Even though
               functionally not sure what that means. Don't be
               cruel. Don't be unfair. Don’t go on strangling me.
               You know we will both pay for it. Please be honest
               [Broadcaster]. You got your laughs in. Your jabs.
               Whatever. I don't care. Be nice baby. And have a
               lovely weekend. Truly yours, -Adam


               q.   On or about April 1, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:


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               Subject: Don't you see?
               Message: The more you fight the more you become
               something that you are not or that you hate. . . .
               . And how do you make the most special man in the
               world jealous with rage? By maybe banging somebody
               else until he goes out of his mind? look at the
               pictures when you're on stage . . . [Broadcaster].
               . . . . And you can go on denying and deceiving
               your own heart and being brutal with your own soul.
               But   you're    ripping   my   family    to   pieces
               [Broadcaster]. You won't let me sleep with my wife
               and I can barely see my own baby. I know you're
               upset you have a conflict of feeling and that you're
               scared or you feel like I left you. I had no choice-
               many people have been freed. It's not my fault. .
               . . I'm done fighting. And now, if you keep
               tormenting me, you will pay a heavy price. I love
               you. Stop fighting. Not everything in life makes
               perfect sense. I don't know how to fix it. . . .
               You   are    killing    yourself.   Stop    fighting
               [Broadcaster]. . . . Don't brutalize yourself baby.
               You're hurting me too. It's been a long journey.
               I'm so, so, so sorry for all of this. Time to pick
               up the pieces, one by one I guess. I love you. I do
               love you. Please don't hurt yourself. I thought it
               was you making me insane. I was killing myself.
               Even if you lose everything, and everyone turns
               their back on you, I will love you the best I can.
               Rest [Broadcaster]. Even sometimes the kind things
               from him or others are from me really. I wouldn't
               have asked you to wait all these years. But I'm
               your biggest fan. Just rest. Pray. Be nice and kind.
               Relax Katherine. Like rush said, "if you choose not
               to decide you have still made a choice". Rest.
               Relax. Safety. Don't worry. I'm not the bad guy
               here. Neither are you.

               r.   On or about April 2, 2021, BANFILL wrote to
the Broadcaster, in substance and in part:

               Subject: You were picked to save your life
               Message: And you thought I was funny and a week
               foolish ridiculous man. And you thought it was
               okay. Truth is, if you hadn’t been picked to torment
               me you'd be dead in the ground rotting right now.
               Because I would have prayed for you I would have
               prayed to bless you and I would have prayed for

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                your repentance. So, whatever. You were foolish and
                are blessed with life because of it. 'life's not
                fair, life's just life' -Scott Ian, Euphoria

               s.   On or about May 15, 2021, BANFILL wrote to the
Broadcaster, in substance and in part:

                Subject: Please be careful.
                Message: You'll understand soon why you're so
                important to me. I love you. Stay close to your
                husband, and don't let anything harm you, -Adam

               t.   On or about May 21, 2021, BANFILL wrote to the
Broadcaster, in substance and in part:

                Subject: Careful
                Message: People are going to start getting
                hysterical about you. Be very careful what you say
                you have a lot of influence.

               u.   On or about May 27, 2021, BANFILL wrote to the
Broadcaster, in substance and in part:

                Subject: Listen [Broadcaster]
                Message: You're getting out very soon. You have to
                start being more careful and looking after yourself
                and being aware of your surroundings. You're going
                to be responsible for yourself [Broadcaster]. I
                know it's been a long time. I've got a court
                appearance tomorrow and then apparently the same
                for me. Be very careful please. I've been waiting
                to meet you a long time. I guess I'll be on the
                news soon too. So, that's something. Love, -Adam

          6.   Based on conversations with the Broadcaster, I know
that the Broadcaster was in New York, New York at the Broadcaster’s
place of employment when the Broadcaster received and/or reviewed
each of the above emails.

          7.   Based on my review of subscriber and other
information for the BANFILL Gmail Account, I know that the email
address for the BANFILL Gmail Account contains the names “Adam”
and “Banfill,” and that the subscriber of the BANFILL Gmail Account
is reported as “Adam Banfill,” with a particular date of birth
(the “BANFILL DOB”), an address in Grand Rapids, Michigan, and a
particular phone number (the “BANFILL Phone”).



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          8.   Based on my review of a missing person report filed
with the Grand Rapids Police Department and associated police
paperwork, I know that on May 15, 2021, an individual who
identified herself as the purported wife (the “Wife”) of Adam
Banfill, reported Banfill missing. The Wife provided Banfill’s
date of birth as the BANFILL DOB, Banfill’s cellphone number as
the BANFILL Phone, and an address in Grand Rapids, Michigan. A few
hours after the missing person report was filed, Grand Rapids
Police Department discovered that Adam Banfill, the alleged
missing person, was not missing, but was in Grand Rapids Police
Department custody after a May 15, 2021 arrest for assault and
battery (“May 15 Arrest”).

          9.    Based on my review of documents from internet
providers and conversations with the Broadcaster, I know that on
or about May 15, 2021, ADAM JUSTIN BANFILL, the defendant, sent
the following message to the Broadcaster via the “Contact” form
portal on the Broadcaster’s website. This message, like the others,
was automatically routed to the Broadcaster’s personal email
account. BANFILL wrote to the Broadcaster, in substance and in
part:

                Subject: Hi
                Message: Got arrested last night I was so fucking
                blasted I woke up I lost my bike I started walking
                down the street and the police arrested me for
                battery.

          10. I also reviewed the photograph included in the
Grand Rapids Police Department report for the May 15 Arrest and a
profile photograph associated with the Banfill Gmail Account, and
the individuals pictured in both photographs appear to be the same
person, namely, ADAM JUSTIN BANFILL, the defendant.

          11. Based on the foregoing I believe that ADAM JUSTIN
BANFILL, the defendant, is the user of the BANFILL Gmail Account
and that BANFILL is the sender of the messages described above.

          12. Based on conversations with the Broadcaster, I know
that the messages that ADAM JUSTIN BANFILL, the defendant, sent to
the Broadcaster have caused the Broadcaster great emotional
distress and that the Broadcaster fears that BANFILL will kill the
Broadcaster and harm the Broadcaster’s family.




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          WHEREFORE, your deponent respectfully requests that a
warrant be issued for the arrest of ADAM JUSTIN BANFILL, the
defendant, and that he be arrested and imprisoned, or bailed, as
the case may be.



                                   _________________________________
                                   DETECTIVE JAMES WALSH
                                   New York City Police Department



Sworn to me through the
transmission of this Affidavit
by reliable electronic means, pursuant to
Federal Rule of Criminal Procedure 4.1,
_____day of June, 2021


                            Sworn to before me in person / June
                            17, 2021
___________________________________
THE HONORABLE ONA T. WANG
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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